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                IN THE UNTIED STATES DISTRICT COURT FOR THE
                      NORTHERN DISTRICT OF MISSISSIPPI
                             ABERDEEN DIVISION

MORKITER JONES                                                                        PLAINTIFF

VS.                                                        CAUSE NO.: 1:18cv193-MPM-DAS

JARED BOOTH;
CITY OF COLUMBUS, MISSISSIPPI,
PARTICULARLY COLUMBUS POLICE
DEPARTMENT; and,
UNKNOWN DEFENDANTS A-Z                                                          DEFENDANT(S)



                  MOTION FOR ADDITIONAL TIME TO ANSWER
                DEFENDANT’S, JARED BOOTH, MOTION TO DISMISS



        COMES NOW, the Plaintiff, Morkiter Jones, by and through Counsel, Brad Morris, and

files her Motion for Additional Time to Answer Defendant’s, Jared Booth, Motion to Dismiss and

would show unto the Court as follows:

           1. Defendant, Jared Booth, by and through Counsel filed his Motion to Dismiss on

              March 4, 2019.

           2. On March 5, 2019, Plaintiff received a Notice of Hearing from the United States

              Bankruptcy Court for the Northern District of Mississippi for a hearing scheduled

              on March 20, 2019, for Defendant’s Motion to Extend Automatic Stay on behalf

              of Jared A. Booth. A copy of which is attached hereto as Exhibit “A”.

           3. Plaintiff respectfully request that the time for Plaintiff’s response to Defendant’s

              Motion to Dismiss be extended until after the hearing in the bankruptcy court so

              that a determination can be made if the Defendant will still be a party to this

              claim.
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           4. Counsel for Plaintiff has a trial scheduled the same week as the response deadline

               to the Motion to Dismiss and is scheduled to be out of state for the remainder of

               that week at a CLE.

           5. Plaintiff respectfully requests that the deadline for response to Defendant’s

               Motion to Dismiss be extended until Wednesday, March 27, 2019.

       WHEREFORE PREMISES CONSIDERED, the Plaintiff, Morkiter Jones, respectfully

requests the Court extend Plaintiff’s deadline to file her Response to Defendant’s Motion to

Dismiss until Wednesday, March 27, 2019.

       RESPECTFULLY SUBMITTED, this the 8th day of March 2019.



                                             By:           /s/Brad Morris
                                                    BRAD MORRIS (MS BAR NO.: 104017)
                                                    Attorney for Plaintiff

Of Counsel:

BRAD MORRIS LAW FIRM, PLLC
POST OFFICE BOX 2136
OXFORD, MS 38655

1603 UNIVERSITY AVENUE
OXFORD, MS 38655
TELEPHONE: 662-701-0909
FACSIMILE: 888-636-8701
EMAIL: brad@bradmorrislawfirm.com
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                               CERTIFICATE OF SERVICE


       I, Brad Morris, do hereby certify that I have this day served via ECF, U.S. Mail,

Electronic Mail, and/or Hand Delivery/Process Server, a true and correct copy of the above and

foregoing Motion to:

              Katherine Kerby, Esq.
              Kerby Law Firm
              P.O. Box 551
              Columbus, MS 39703
              Attorney for Defendant, Jared Booth

              Jeff Turnage, Esq.
              Mitchell, McNutt, & Sams
              P.O. Box 1366
              Columbus, MS 39703-1366
              Attorney for Defendant, City of Columbus


       THIS the 8th day of March 2019.

                                                      /s/Brad Morris
                                                                 BRAD MORRIS
